
PER CURIAM.
By petition for writ of certiorari we have for review an order of the Florida Industrial Commission hearing date May 26, 1969.
We find that oral argument would serve no useful purpose and it is therefore dispensed with pursuant to Florida Appellate Rule 3.10, subd. e, 32 F.S.A.
Our consideration of the petitions, records and briefs leads us to conclude that there has been no deviation from the essential requirements of law.
Accordingly, the petitions for writ of certiorari and attorneys’ fee are hereby denied.
It is so ordered.
ROBERTS, DREW, CARLTON and ADKINS, JJ., concur.
ERVIN, C. J., concurs specially with opinion.
